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                   Exhibit 11C
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                                   MEMORANDUM

TO:            Class Counsel
               BP

FROM:          Patrick A. Juneau, Claims Administrator

DATE:          October 8, 2012

RE:            Revisions to or Clarifications of Selected Policy Decisions Following the
               October 1, 2012 Panel Meeting

______________________________________________________________________________

        A Claims Administration Panel meeting was conducted on October 1, 2012, to discuss
various of the items set out in the Claims Administrator’s September 25, 2012 memorandum,
announcing certain policy decisions. In light of the discussion at that Panel meeting, the Claims
Administrator sets forth the following clarifications and/or revisions to certain of the issues
addressed in his September 25, 2012 memorandum. This memorandum addresses only certain of
the policies identified in the September 25, 2012 memorandum. To the extent that any other
issues are not addressed herein, the Claims Administrator’s policies remain the same as they
were announced in the September 25, 2012 memorandum.

    1. “Alternate Source Documents” for Revenues and Expenses of Business Economic
       Loss Claimants: Pursuant to Section 4 of Exhibit 4A to the Settlement Agreement, the
       Claims Administrator has adopted the following interpretations of the Settlement
       Agreement with regard to the documents required to establish monthly revenues and
       expenses for the claimed Benchmark Period, 2010 and, if applicable, 2011:

         (a)   Monthly Allocations of Revenues/Expenses: If the claimant has submitted
               documents sufficient to determine the annual revenues and expenses of the
               business for a year, but no monthly profit and loss statements or other documents
               showing revenues and expenses by month for that year are available, the Claims
               Administrator may allocate the total annual revenues and expenses equally over
               the 12 months, or use alternative methods or documents to allocate the amounts
               over the 12 months. The reviewing accountants will use their professional
               judgment to determine the most appropriate means for such allocation under the
               circumstances of a particular claim. The claimant may be required to submit
               monthly profit and loss statements or other monthly documents for the year if the
               Claims Administrator in his discretion determines a need for such documents to
               resolve questions presented by a particular claim. This policy statement refers
               only to calculations regarding the proper amount of an award for a given claim.
               This policy statement does not apply to application of causation requirements set

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               out in the Settlement Agreement. For purposes of satisfying causation
               requirements, a claimant is to provide “monthly and annual profit and loss
               statements (which identify individual expense line items and revenue categories),
               or alternate source documents establishing monthly revenues and expenses for the
               claimed Benchmark Period, 2010, and if applicable, 2011.” (Exhibit 4A, Sec. 4).

         (b)   Monthly Allocations of Owner and Officer Payroll: If the claimant has not
               submitted documents showing the amounts paid monthly as salary or otherwise to
               owners and officers during a year, the Claims Administrator may allocate the
               income shown on the owner’s or officer’s W-2 annual statement and/or tax return
               for that year equally over 12 months, or use alternative methods or documents to
               allocate the amounts over the 12 months. The reviewing accountants will use
               their professional judgment to determine the most appropriate means for such
               allocation under the circumstances of a particular claim. The claimant may be
               required to submit monthly profit and loss statements or other documents showing
               those amounts on a monthly basis if the Claims Administrator in his discretion
               determines a need for such documents to resolve questions presented by a
               particular claim. This policy statement refers only to calculations regarding the
               proper amount of an award for a given claim. This policy statement does not
               apply to application of causation requirements set out in the Settlement
               Agreement. For purposes of satisfying causation requirements, a claimant is to
               provide “monthly and annual profit and loss statements (which identify individual
               expense line items and revenue categories), or alternate source documents
               establishing monthly revenues and expenses for the claimed Benchmark Period,
               2010, and if applicable, 2011.” (Exhibit 4A, Sec. 4).

         (c)   Restatement of Profit and Loss Statements: If the claimant’s profit and loss
               statements for a year were prepared on an accrual basis, the claimant will not be
               permitted to restate such statements on a cash basis in connection with the
               submission of a Business Economic Loss claim, for such restatement could result
               in a loss or a greater loss not related to the Spill but instead is a result only of the
               timing of cash received. If the claimant’s profit and loss statements for a year
               were prepared on a cash basis, the claimant may be permitted to restate such
               statements on an accrual basis in connection with the submission of a Business
               Economic Loss.

         11.   Exclusion of a Benchmark Year for Seafood Program Claimants. In any
               instance in which Exhibit 10 permits a Seafood Program claimant to request that
               the Claims Administrator exclude one or more years of the Benchmark Period
               from the compensation calculation if the claimant earned less-than-normal
               revenue for the year(s) identified because the claimant could not fish “at the same
               level of effort . . . due to circumstances beyond the claimant’s control,” the
               Claims Administrator will consider each request on a case-by-case basis to
               determine: (1) whether the circumstances presented justified the claimant’s
               absence from seafood harvesting exclusion for one or more years of the



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               Benchmark Period; and (2) the level of proof required to establish such
               justification.


         12.   Reliance Upon Available Data for Benchmark Revenue Allocation Required in
               the Seafood Program. On any claim in the Seafood Program where the Claims
               Administrator is required to allocate the claimant’s Benchmark Period revenue by
               catch type, vessel and landing location, interpreting and applying the language in
               Exhibit 10 that the claimant must provide “sufficient information” for the Claims
               Administrator to make such allocation, the Claims Administrator will use the
               information available on the claim in the following hierarchy of proof, as
               sufficient to satisfy the proof requirements of Exhibit 10 to the Settlement
               Agreement:

               (a) Single Catch/Single Vessel Claimants: If the claimant has submitted tax
                   returns with supporting documents for the Benchmark Period and the Claims
                   Administrator can determine from the Claim Form or other information
                   available on the claim that the claimant is submitting a claim for only one
                   vessel and one catch type:

               (1) The Claims Administrator will allocate the revenues from the claimant’s tax
                   returns to the one type of catch asserted on the Claim Form, subject to the
                   following.

               (2) The revenues shall be limited to those shown in the applicable tax returns.

               (3) The Claims Administrator will not enter or compute all information regarding
                   trip tickets or their equivalent for the claimant, but will survey the documents
                   available on the claim to note information that conflicts with the allocation
                   assertions in the Claim Form. If such conflict arises, the Claims
                   Administrator will notify the claimant to resolve the issue or take such other
                   steps as are necessary to determine the correct allocation on the claim.

               (b) SWS-1 Claimants: If the claimant is not subject to Subsection (a) and has
                   submitted a signed Sworn Written Statement (SWS-1) to allocate the
                   claimant’s Benchmark Period revenues shown in tax returns:

               (1) If the claimant has indicated in the SWS-1 that the Claims Administrator may
                   rely only on the SWS-1 for such allocation:

                  a) The Claims Administrator will rely upon the SWS-1 allocation and will
                     not consider trip tickets or other documents for that purpose, subject to the
                     following.

                  b) The revenues shall be limited to those shown in the applicable tax returns.



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                    c) The Claims Administrator will not enter or compute all information
                       regarding trip tickets or their equivalent for the claimant, but will survey
                       the documents available on the claim to note information that conflicts
                       with the assertions in the SWS-1. If such conflict arises, the Claims
                       Administrator will notify the claimant to resolve the issue or take such
                       other steps as are necessary to determine the correct allocation on the
                       claim.

                (2) If the claimant has indicated in the SWS-1 that the Claims Administrator is to
                    use the claimant’s trip ticket allocations if they result in a higher award than
                    the SWS-1 allocation:

                    a) The Claims Administrator will determine the claimant’s trip ticket
                       allocation under Subsections (c) or (d) below and will compare the
                       resulting award to that determined using the SWS-1 allocation. The
                       Claims Administrator will base the resulting Eligibility Notice on the
                       higher award.

                    b) If the award is based upon the SWS-1 allocation, the revenues shall be
                       limited to those shown in the applicable tax returns.

                (c) Louisiana Trip Ticket Database: If the claimant is not subject to
                    Subsections (a) or (b) and the Claims Administrator is able to determine the
                    claimant’s Benchmark Period revenues using the trip ticket data received by
                    the Claims Administrator from the Louisiana Department of Wildlife and
                    Fisheries, the Claims Administrator will rely on such data to determine such
                    revenues and their allocation by vessel and catch type and will not consider
                    trip tickets other document for that purpose. The Claims Administrator will
                    not consider tax return revenues on such claims.

                (d) Specific Trip Tickets or Equivalent: If the Claimant is not subject to
                    Subsections (a), (b) or (c), the Claims Administrator will determine the
                    claimant’s Benchmark Period revenues and their allocation using trip tickets
                    or their equivalent.

         13. Determination of an Excluded Real Estate Developer. At the October 1, 2012
             Claims Administration Panel meeting, the Parties confirmed their mutual intent in
             terms of defining a Real Estate Developer under Section 2.2.4.7 of the Settlement
             Agreement. The Parties voiced agreement on this issue. Based upon that agreement
             as confirmed by both Class Counsel and BP at the October 1, 2012 panel meeting, the
             Claims Administrator shall consider a Real Estate Developer to be any person or
             entity involved in the business of real estate development to any extent during the
             year 2010. In accord with Exhibit 18 of the Settlement Agreement, the Claims
             Administrator’s determination will be based upon his review of (a) the claimant’s
             2010 tax return, (b) 2010 business permits or license(s), and/or (c) other evidence of
             the relevant business’s or individual’s activities as determined relevant under the


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         circumstances of a particular claim, including the revenues and expenses of the
         business during 2010. Where the information available on the claim of an Individual
         Economic Loss claimant suggests that the claimant’s employer in 2010 was a Real
         Estate Developer, the Claims Administrator will contact the claimant and determine
         on a case-by-case basis the appropriate measures to obtain sufficient information
         and/or documents regarding the claimant’s employer to permit the Claims
         Administrator to make the necessary analysis of the employer’s operations in 2010.




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